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                            EXHIBIT 34
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                             IN THE SUPREME COURT OF PENNSYLVANIA
                                        EASTERN DISTRICT


      ECLIPSE LIQUIDITY, INC.                  : No. 38 EM 2024
                                               :
                                               :
                       v.                      :
                                               :
                                               :
      GULSUN NAZLI KARAHMEHMET-                :
      WILLIAMS, COURTNEY BRYAN                 :
      WILLIAMS, GEDEN HOLDINGS, LTD.,          :
      ADVANTAGE TANKERS, LLC, AND              :
      ADVANTAGE AWARD SHIPPING, LLC,           :
                                               :
                                               :
      PETITION OF: REUBEN BALZAN,              :
      COURT-APPOINTED LIQUIDATOR FOR           :
      GEDEN HOLDINGS, LTD.                     :


                                            ORDER



    PER CURIAM

             AND NOW, this 3rd day of December, 2024, the Application for Extraordinary

    Jurisdiction is DENIED.




A True Copy Darian Holland
As Of 12/03/2024


Attest: ___________________
Chief Clerk
Supreme Court of Pennsylvania
